                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE

  KEENA HODGE,                              )
                                            )
              Plaintiff,                    )
                                            )     No. 1:20-CV-256
  v.                                        )
                                            )
  C R BARD INCORPORATED, et al.,            )
                                            )
              Defendants.                   )
  ______________________________________________________________________________

  LEAH SHRUM,                               )
                                            )
              Plaintiff,                    )
                                            )     No. 1:20-CV-258
  v.                                        )
                                            )
  C R BARD INCORPORATED, et al.,            )
                                            )
              Defendants.                   )
  ______________________________________________________________________________

  EDDIE TATE,                               )
                                            )
              Plaintiff,                    )
                                            )     No. 1:20-CV-259
  v.                                        )
                                            )
  C R BARD INCORPORATED, et al.,            )
                                            )
              Defendants.                   )
  ______________________________________________________________________________

  LAUREN ALFORD,                            )
                                            )
              Plaintiff,                    )
                                            )     No. 1:20-CV-260
  v.                                        )
                                            )
  C R BARD INCORPORATED, et al.,            )
                                            )
              Defendants.                   )
  ______________________________________________________________________________




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  ROBERT FRIERSON,                          )
                                            )
              Plaintiff,                    )
                                            )     No. 1:20-CV-261
  v.                                        )
                                            )
  C R BARD INCORPORATED, et al.,            )
                                            )
              Defendants.                   )
  ______________________________________________________________________________

  MORGAN BLEVINS,                           )
                                            )
              Plaintiff,                    )
                                            )     No. 1:20-CV-262
  v.                                        )
                                            )
  C R BARD INCORPORATED, et al.,            )
                                            )
              Defendants.                   )
  ______________________________________________________________________________

  CHARLES GOODS,                                       )
                                                       )
                 Plaintiff,                            )
                                                       )      No. 2:20-CV-187
  v.                                                   )
                                                       )
  C R BARD INCORPORATED, et al.,                       )
                                                       )
                 Defendants.                           )

                                              ORDER

         Pursuant to Local Rule 3.2(d)(3), the undersigned finds that the above-captioned cases are

  related to Wanda Sinard v. C R Bard Incorporated, et al., No. 3:19-CV-358, and all other related

  cases. The Court finds that these cases arise out of the same transaction or occurrence and involve

  one or more of the same parties. Therefore, these cases are related. See E.D. Tenn. L.R.

  3.2(d)(3)(A)(2).




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         Because the first of these cases was assigned to District Judge Clifton L. Corker and

  Magistrate Judge H. Bruce Guyton, these cases will also be assigned to District Judge Clifton L.

  Corker and Magistrate Judge H. Bruce Guyton. However, consolidation is not ordered.

         IT IS SO ORDERED.

                                              ENTER:


                                              United States Magistrate Judge




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